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                Exhibit A
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SANDERS PHILLIPS GROSSMAN, LLC
Marc D. Grossman, Esq. # 042551993
100 Garden City Plaza, Suite 500
Garden City, NY 11530
Ph: (516) 741-5600
Fx: (516) 741-0128
mgrossman@thesandersfirm.com

POGUST BRASLOW & MILLROOD, LLC
Tobias L. Millrood, Esquire
NJ Attorney ID: 38721995
tmillrood@pbmattorneys.com
Michael G. Daly, Esquire
NJ Attorney ID: 025812010
mdaly@pbmattorneys.com
Eight Tower Bridge, Suite 940
161 Washington Street
Conshohocken, Oregon 19428
T: 610-941-4204
F: 610-941-4245

Attorneys for Plaintiff, James Piper


 JAMES PIPER,                                     SUPERIOR COURT OF NEW JERSEY
                                                  LAW DIVISION
                             Plaintiff,           MIDDLESEX COUNTY

 v.                                               Docket No.:

 JOHNSON & JOHNSON.; and                                         CIVIL ACTION
 ETHICON, INC.,
                                                                  COMPLAINT
                             Defendants.
                                                          JURY TRIAL DEMANDED


       Plaintiff, James Piper (“Plaintiff”) by and through his counsel, hereby sues JOHNSON &

JOHNSON (“J&J”), a New Jersey corporation; and ETHICON, INC. (“Ethicon”), a New Jersey

corporation (collectively “Defendants”).

                                 NATURE OF THE ACTION

       1.      This is an action for strict products liability, failure to warn, defective design,
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brought by Plaintiff, James Piper (“Plaintiff”) for injuries arising out of the Proceed Surgical Mesh

(“Ethicon Proceed” or “Proceed”).

       2.      Defendant Ethicon manufactured and supplied to doctors a multi-layered hernia

mesh known as the Proceed Surgical Mesh.

       3.      The Proceed Surgical Mesh created an unreasonable risk of harm to Plaintiff.

       4.      The unreasonable risk of pain, dense adhesion formation, bowel complications,

mesh shrinkage, hernia recurrence, seroma and fistula formation, and infection, whether from a

prolonged and pronounced inflammatory response caused by the multiple layers, degradation of

polymers due to exposure to gamma irradiation, non-conforming subcomponents, or some other

mechanism, renders the Ethicon Proceed a defective product.

       5.      The selection and implantation of the Ethicon Proceed by Plaintiff’s surgeon was a

result of the misinformation, marketing, sales, promotion and direction by Ethicon.


                                  JURISDICTION & VENUE


       6.      This is a lawsuit over defective hernia mesh designed, marketed, manufactured,

promoted and sold within New Jersey and the United States by Defendant Ethicon and its parent

company J&J.

       7.      Plaintiff currently resides in Chesaning, Michigan. Plaintiff is a citizen and resident

of Michigan.

       8.      Plaintiff underwent hernia repair surgery on August 26, 2011 at Memorial

Healthcare Center in Owosso, Michigan. At that time, the Ethicon Proceed mesh product that

Defendants manufactured, designed, distributed, and warranted by Defendants was implanted into

Plaintiff. Plaintiff’s surgeon, medical staff, and other healthcare providers met or exceeded the

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standard of care applicable to the hernia surgery.

       9.      Defendant J&J is a corporation incorporated in New Jersey, and according to its

website, the world’s largest and most diverse medical device and diagnostics company, with its

principal place of business located at One Johnson & Johnson Plaza, New Brunswick, New Jersey.

       10.     Defendant J&J organizes its subsidiary businesses into individual Business Units

to coordinate the development, manufacture, testing, marketing promotion, training, distribution

and sale of its products, including but not limited to its hernia repair mesh products. Within J&J

there are three sectors: medical devices and diagnostics, pharmaceutical, and consumer. Within

the medical devices and diagnostic sector are “Business Units” including the “Ethicon Franchise.”

J&J charged the Ethicon Franchise with the design, development, promotion, marketing, testing,

training, distribution and sale of the Proceed Surgical Mesh, the hernia repair product at issue in

this case. The Company Group Chairman and Worldwide Franchise Chairman for the Ethicon

Franchise, Gary Pruden, is employed by J&J. The companies which comprise the Ethicon

Franchise are thus controlled by Defendant J&J and include Ethicon, Inc.

       11.     Defendant Ethicon is a wholly owned subsidiary of Defendant J&J. Defendant

Ethicon is a corporation incorporated in the State of New Jersey with its principal place of business

in Somerville, New Jersey. Defendants conduct business in every county in New Jersey.

       12.     Defendant Ethicon is a medical device company involved in the research,

development, testing, manufacture, production, marketing, promotion and/or sale of medical

devices including Proceed.

       13.     J&J, directly and/or through the actions of Ethicon, has at all pertinent times been

responsible for the research, development, testing, manufacture, production, marketing,



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promotion, distribution and/or sale of Proceed.

       14.     At all relevant times, Defendants either directly, or through their agents, apparent

agents, servants or employees sold, distributed and marketed the defective Ethicon Proceed in the

State of New Jersey. Defendants derive substantial revenue from hernia mesh products used or

implanted in the State of New Jersey. As such, Defendants expected or should have expected that

their business activities could or would subject them to legal action in the State of New Jersey.

       15.     All Defendants were also involved in the business of monitoring and reporting

adverse events concerning the Ethicon Proceed, and having a role in the decision process and

response of Defendants, if any, related to these adverse events.

       16.     The Proceed Defendants are subject to jurisdiction within the State of New Jersey

and this Court because:

       a.      Defendants are engaged in substantial and not isolated business activity within the
               State of New Jersey, Bergen County.

       b.      Defendants’ hernia mesh products, including the subject Proceed Surgical Mesh,
               were designed, manufactured, and placed into the stream of commerce in State of
               New Jersey by the Defendants.

       c.      Defendants maintain an office or agency within the State of New Jersey.

       d.      Upon information and belief, at all relevant times, Defendants committed tortuous
               acts within the State of New Jersey out of which these causes of action arise.

       17.     At all times relevant hereto, the Defendants developed, manufactured, advertised,

promoted, marketed, sold and/or distributed the defective Ethicon Proceed throughout the United

States, including within the State of New Jersey and specifically to Plaintiff’s implanting physician

or his practice group, or to the hospital where the Ethicon Proceed was implanted.

       18.     Plaintiff has reviewed potential legal claims and causes of action against



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Defendants and has chosen to only pursue state-law claims. Any reference to any federal agency,

regulation or rule is stated solely as background information and does not raise a federal question.

Defendants J&J and Ethicon are both New Jersey corporations and both maintained their principal

place of business in New Jersey. Accordingly, this Court may rightfully exercise jurisdiction, and

venue is proper.

       19.     Defendants designed, manufactured, fabricated, marketed, packaged, advertised,

and sold the Proceed throughout the world, including in Bergen County, State of New Jersey.

       20.     Ethicon knowingly market to, and derive income from, patients in the State of New

Jersey from the sale of Ethicon Proceed.

       21.     This is an action for damages in excess of Fifteen Thousand Dollars ($15,000.000),

exclusive of interest and cost.

                                     PROCEED HISTORY

       22.     Defendants were the designers, manufacturers, marketers, distributors and

suppliers of the Ethicon Proceed Surgical Mesh at all material times.

       23.     Defendants warranted the Proceed Surgical Mesh and placed the device into the

United States stream of commerce.

       24.     Defendants knew that the oxidized regenerated cellulose layer of the Proceed was

ineffective at preventing adhesion formation to the underlying polypropylene of the Proceed before

the Defendants set out to design the Proceed Surgical Mesh in 2003.

       25.     Before 2003, Defendants were aware that the Oxidized Regenerated Cellulose

utilized in the Proceed had pores which were too large to prevent adhesion formation

       26.     Before 2003, Defendants were aware that increased adhesion formation would



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result in increased mesh shrinkage.

        27.    Before 2003, Defendants were aware that Oxidized Regenerated Cellulose would

result in dense adhesions in the presence of blood or fibrinous exudate.

        28.    Before 2003, Defendants were aware that polypropylene elicits a chronic, life-long

inflammatory response that is accompanied by exudation of fibrinogen.

        29.    Before 2003, Defendants were aware that any exposure to gamma irradiation would

weaken and embrittle the polypropylene of the Proceed.

        30.    Before placing the Ethicon Proceed on the market, Defendants were required to

mitigate risks of the product, including any element of design or sterilization which could render

the device ineffective, weaken the structural integrity of the device, or increase or prolong

inflammation once the device is implanted, which would result in an increase in adhesion

formation, mesh shrinkage, pain, bowel complications, hernia recurrence, and/or the need for early

surgical revision in patients-consumers.

        31.    Defendants designed, manufactured, and marketed the Proceed, despite long-

standing knowledge that the materials utilized in the Proceed would cause dense adhesions,

chronic pain, mesh shrinkage, bowel obstructions, and early hernia recurrence.

        32.    Defendants sterilize the Proceed with gamma irradiation, despite long-standing

knowledge that polypropylene will degrade and embrittle if exposed to any amount of gamma

irradiation.

        33.    The Ethicon Proceed Surgical Mesh is made of the following, starting with the

component which would be placed closest to the bowel of the patient-consumer:

                   •   Oxidized Regenerated Cellulose (ORC) barrier layer



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                        •   Polydioxanone (PDS) film layer

                        •   Large pore polypropylene (Prolene soft mesh)

           34.      Polypropylene hernia meshes are traditionally sterilized with ethylene oxide.

           35.      The ORC layer of the Ethicon Proceed will react and degrade in the presence of

ethylene oxide.

           36.      Defendants sterilize the Ethicon Proceed with gamma irradiation.

           37.      Gamma irradiation degrades, weakens, and embrittles the polypropylene base of

the Ethicon Proceed.

           38.      Decades prior to the release of the Ethicon Proceed, Defendants were aware that

polypropylene degrades, weakens, and embrittles when exposed gamma irradiation. 1

           39.      The embrittled polypropylene of the Ethicon Proceed increases the propensity of

the polypropylene to tear away from the securing devices, such as sutures or tacks.

           40.      The polypropylene base is the only permanent, non-resorbable portion or the

Ethicon Proceed.

           41.      Defendants designed, manufactured, promoted, sold and/or marketed the Ethicon

Proceed to be utilized in anyone with a soft tissue defect, including, but not limited to: “infants,

children, pregnant women, or women planning pregnancies…” 2

           42.      For decades, there were concerns in the medical community about severe

complications if polypropylene was placed too close to the bowel or other underlying organs, due

to the formation of dense adhesions to the polypropylene.

           43.      Defendants were aware that the ORC layer utilized in the Proceed was ineffective


1
    U.S. Patent No. 3,943,933 (Issued Mar. 16, 1976).
2
    Proceed Surgical Mesh Instructions for Use, Status 04/2010.

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at preventing adhesion formation to polypropylene over a decade before Defendants brought the

Proceed to market. 3

        44.      Despite significant evidence to contrary, Defendants marketed the Ethicon Proceed

and its ORC layer as a tissue separating barrier that would prevent adhesion formation from the

underlying polypropylene to any nearby organs.

          FAILURE TO WARN PHYSICIANS OF THE DANGERS ASSOCIATED
                             WITH PROCEED

        45.      Defendants marketed the Ethicon Proceed to general surgeons, hospitals, and group

purchasing organizations (GPOs), rather than end-user patients.

        46.      Defendants had the ability to inform surgeons, hospitals, or GPOs of developing

problems or defects in its devices through e-mail, letter, recalls, warnings in product inserts, and/or

through its product representatives, who work directly with the surgeon.

        47.      The multiple layers of the Ethicon Proceed increase the intensity and duration of

the inflammatory response. That response in turn increases dense adhesion formation from

underlying organs to the Ethicon Proceed, resulting in bowel complications, mesh contracture,

hernia recurrence, increased foreign body reaction, chronic severe pain, and more.

        48.      Defendants state in the Ethicon Proceed IFU that “The PROLENE Soft Mesh

component is constructed of knitted filaments of extruded polypropylene identical in composition

to that used in PROLENE Polypropylene Suture, Nonabsorbable Surgical Suture, U.S.P.” This

statement is false, or at very least misleading, as the Proceed undergoes gamma irradiation that

changes the composition of the polypropylene.



3
 Robert J. Fitzgibbons, Jr., M.D. et al., A Laparoscopic Intraperitoneal Onlay Mesh Technique for the Repair of an
Indirect Inguinal Hernia, 219-2 ANNALS OF SURGERY 114 (1994).

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        49.     Defendants also state in the Ethicon Proceed IFU that the polypropylene material

 “when used as a suture, has been reported to be nonreactive and to retain its strength indefinitely

 in clinical use. The PROLENE Soft Mesh affords excellent strength, durability and surgical

 adaptability, with a porous structure to enable mesh incorporation into surrounding tissues.” This

 statement is false, or at very least misleading, as Defendants are aware that the Ethicon Proceed is

 reactive and does not retain its strength. Furthermore, Defendants are aware of reports that the

 small polypropylene sutures do elicit a small reaction, and increasing amounts of polypropylene

 greatly increase such reaction. The very reason the Defendants added the ORC layer to the Prolene

 Soft Mesh was to protect organs from reacting with the polypropylene of the Prolene Soft Mesh.

        50.     The Ethicon Proceed IFU has a section for contraindications, which list “None

 known.”

        51.     The Ethicon Proceed IFU has a section for adverse reactions, which list “Potential

 adverse reactions are those typically associated with surgically implantable materials…” The

 polypropylene base of the Ethicon Proceed carries many potential adverse reactions, such as a life-

 long inflammatory response that other surgically implantable materials do not present.

 Additionally, the multiple layers of the Ethicon Proceed further increases the inflammatory

 response and rate of infection, adhesion formation, chronic pain, seroma formation, fistula

 formation, hematomas, mesh contracture, hernia recurrence, mesh migration, bowel

 complications, foreign body response, extrusion, and other additional injuries.

        52.     Defendants failed to warn that the Ethicon Proceed will elicit a fibrinous exudate.

        53.     Defendants failed to warn that the Ethicon Proceed creates a solid barrier

 preventing the body from adequately clearing or transporting fluid, which results in seroma



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 formation, potentiating infections and fistula formation.

         54.    Defendants never performed any clinical trials and/or studies prior to marketing the

 Ethicon Proceed.

         55.    Defendants did not fully and/or adequately test the configuration of this new, multi-

 layered hernia mesh, designed with ORC, polypropylene, and PDS, that was implanted into

 Plaintiff.

         56.    Defendants continue to market the Ethicon Proceed without warning of the massive

 mesh shrinkage or the necessary overlap to prevent early hernia recurrence due to mesh shrinkage.

         57.    Reassurances of device safety were made through direct promotional contact by

 Defendants’ sales representatives and distributors, through word-of-mouth from Defendant’s

 physician/technical consultants, and/or through industry targeted promotional materials.

         58.    Despite these reassurances, the defective design and manufacture of the Ethicon

 Proceed continued to elicit severe and chronic inflammatory responses, resulting in adhesion

 formation, bowel injuries, mesh contracture, pain, hernia recurrence, infections, seromas, fistulas,

 erosion, extrusion, and additional complications.

         59.    Defendants were aware that the ORC layer was ineffective at preventing adhesions

 to the polypropylene; gamma irradiation would weaken the polypropylene; and the multi-layered

 mesh would contract massively over time. Nonetheless, Defendants employed the design in its

 Ethicon Proceed Surgical Mesh in a reckless disregard for the safety of patients, including Plaintiff.

         60.    Moreover, despite direct knowledge of significant adverse events reported by

 patients and physicians, as well as awareness of failures that have been reported in literature and

 published clinical trials, Defendants have continued to market the Ethicon Proceed as being safe



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 and effective for hernia repair.

        61.     From the time that Defendants first began selling the Ethicon Proceed in the United

 States through today, product labeling and product information failed to contain adequate

 information, instructions, and warnings concerning the following: implantation of the Proceed,

 specifically its propensity to massively shrink, the increased in duration and intensity of

 inflammation, and the elevated rate of adhesions, bowel complications, chronic pain, hernia

 recurrence, seroma formation, hematoma formation, fistula formation, erosion, extrusion,

 infection, and other injuries that occur at a higher rate than other surgically implanted devices


                                     USE OF THE PRODUCT


        62.     A defectively designed, manufactured and marketed Ethicon Proceed Surgical

 Mesh left the hands of Defendants in its defective condition, delivered into the stream of

 commerce. J. M. Vachhani, MD implanted the Proceed Surgical Mesh in Plaintiff’s abdomen to

 repair an umbilical hernia on or about August 26, 2011 at Memorial Healthcare Center in Owosso,

 Michigan. Plaintiff was implanted with a Proceed Surgical Mesh, Model No. PCDJ1, Lot

 CDG188.

        63.     As a direct and proximate result of Defendants defective design, manufacture,

 marketing, distribution, and/or sale of the Ethicon Proceed and placing the defective product into

 the stream of commerce, Plaintiff has been injured and damaged as follows:


        a.      On November 9, 2016, Plaintiff underwent an excision of his previously placed

                Proceed mesh at Hurley Medical Center in Flint, Michigan with Leo Mercer, MD.

                Dr. Mercer lysed adhesions between the small intestines and small bowel and



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                 started to excise the mesh. He noted that the mesh migrated toward the right of the

                 abdomen and was not able to be removed entirely. Following the revision surgery,

                 Plaintiff suffered from an abdominal wall seroma. On January 3, 2017, Plaintiff

                 underwent an ultrasound guided drainage of the abdominal wall seroma with drain

                 placement.

         b.      Plaintiff experienced and/or continues to experience severe pain, excision surgery,

                 lysis of adhesions, seroma, recurrence, scarring, disfigurement, loss of appetite and

                 stress and anxiety which have impaired her activities of daily living.

         c.      Plaintiff continues to suffer complications as a result of her implantation with the

                 Ethicon Proceed.

         d.      Plaintiff is at a higher risk of severe complications during an abdominal surgery, to

                 the extent that future abdominal operations might not be feasible.

         64.     The mechanism of failure in Plaintiff’s device was exactly the same mechanism of

 failure that Defendants had marketed and warranted would not occur because of the Ethicon

 Proceed design and composition. It was also the same failure mechanism that the medical and

 scientific community had been studying and documenting since the 1990s, i.e., ORC was

 ineffective at preventing adhesions to polypropylene, and polypropylene contracts when dense

 adhesions form to it.

         65.     Moreover, the symptoms and findings associated with Ethicon Proceed product

 failures that have been reported in the literature are identical to those Plaintiff suffered.

         66.     As a direct and proximate result of Defendants’ defective design, manufacturing,

 marketing, distribution, sale and warnings of the defective Ethicon Proceed, Plaintiff has suffered



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 and continues to suffer both injuries and damages, including, but not limited to: past, present and

 future physical and mental pain and suffering; physical disability, and past, present, and future

 medical, hospital, rehabilitative, and pharmaceutical expenses, and other related damages.


                            THE FDA’S 510(k) CLEARANCE PROCESS


        67.        The 510(k) clearance process refers to Section 510(k) of the Medical Device

 Amendments of 1976 MDA of the Federal Food, Drug and Cosmetic Act. Under this process,

 device manufacturers are only required to notify the FDA at least 90 days before they market a

 device claimed to be “substantially equivalent” to a device the FDA approved for sale prior to

 1976, when the MDA was enacted.

        68.        No clinical testing is required under this process.

        69.        Subsequent amendments to the MDA allowed for 510(k) clearance of products

 deemed “substantially equivalent” to post-MDA, 510(k) cleared devices.

        70.        Through this domino effect, devices deemed “substantially equivalent” to devices

 previously deemed “substantially equivalent” to devices approved for sale by the FDA prior to

 1976 could be sold to patients in a matter of 90 days without any clinical testing.

        71.        Clearance for sale under the 510(k) process does not equate to FDA approval of the

 cleared device.

        72.        In 2012, at the request of the FDA, the National Institute of Health (NIH) conducted

 a thorough review of the 510(k) process, coming to the following major conclusion:

                   The 510(k) clearance process is not intended to evaluate the
                   safety and effectiveness of medical devices with some exceptions.
                   The 510(k) process cannot be transformed into a pre-market
                   evaluation of safety and effectiveness so long as the standard for
                   clearance is substantial equivalence to any previously cleared

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                device.

        73.     The NIH explained, “The assessment of substantial equivalence does not require

 an independent demonstration that the new device provides a ‘reasonable assurance of safety and

 effectiveness.’” Further, the NIH even pointed out that the classification of predicate devices

 approved for sale prior to the 1976 MDA “did not include any evaluation of the safety and

 effectiveness of individual medical devices . . . Thus is common for devices to be cleared through

 the 510(k) program by being found substantially equivalent to devices that were never individually

 evaluated for safety and effectiveness, either through the original device classification program or

 through the 510(k) process.”

        74.     Defendants cleared the Ethicon Proceed Surgical Mesh, and its related components,

 under the 510(k) Premarket Notification. Under Section 510(k) of the Federal Food, Drug and

 Cosmetic Act, a medical device does not have to go through the rigors of a clinical study to gain

 approval by the FDA. Instead, the device was supposed to demonstrate substantial equivalence to

 a predicate medical device.

        75.     On June 18, 2002, the Food and Drug Administration issued a document titled

 “Guidance for Resorbable Adhesion Barrier Devices for Use in abdominal and/or Pelvic Surgery;

 Guidance for Industry.” The 26 page document starts by explaining:

                FDA has determined that the resorbable adhesion barrier is a
                significant risk device as defined in 21 CFR 812.3(m)(4). The
                resorbable adhesion barrier is a class III device which is subject
                to premarket approval in accordance with section 515 of the
                Federal Food, Drug, and Cosmetics (FD&C) Act.

        76.     The Proceed Surgical Mesh did not undergo premarket approval, but instead

 received 510(k) clearance on or about September 17, 2003. The only predicate device listed on the



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 510(k) application is the Prolene Soft Polypropylene Mesh, a non-barrier hernia mesh. Defendants

 did not claim that the Proceed Surgical Mesh was a resorbable adhesions barrier in their 510(k)

 application. However, after 510(k) clearance, Defendants marketed the Proceed Surgical Mesh as

 a resorbable adhesion barrier.

        77.     Defendants applied for 510(k) clearance for the Proceed Surgical Mesh again in

 May of 2006. The only predicate device listed on the 510(k) application is the prior Proceed

 Surgical Mesh. In this 510(k) application, Defendants did not claim the intended use of the Proceed

 was a resorbable adhesion barrier; however, in the device description Defendants note that the

 “ORC side provides a bioresorbable layer that physically separates the polypropylene mesh from

 underlying tissue and organ surfaces during the wound-healing period to minimize tissue

 attachment to the mesh.” Defendants continued to market the Proceed Surgical Mesh as a

 resorbable adhesion barrier.

                                      CAUSES OF ACTION

  COUNT I: STRICT PRODUCTS LIABILITY – DEFECTIVE DESIGN UNDER NEW
 JERSEY PRODUCT LIABILTY ACT AND MICHIGAN COMMON AND STATUTORY
                                LAW

        78.     Plaintiff incorporates herein by reference the allegations in all prior paragraphs and

 further alleges as follows:

        79.     Defendants had a duty to design and manufacture, distribute, market, promote and

 sell, the Ethicon Proceed so that it was neither defective nor unreasonably dangerous when put to

 the use for which it was designed, manufactured, distributed, marketed and sold.




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        80.       In and before 2003, Defendants were engaged in the business of designing,

 manufacturing, marketing, distributing and selling hernia mesh implants and did design,

 manufacture, distribute, market and sell the Ethicon Proceed.

        81.       Defendants expected the Ethicon Proceed Devices they were manufacturing,

 selling, distributing, supplying, and/or promoting to reach, and they did in fact reach, implanting

 physicians and consumers in the State of New Jersey and the United States, including Plaintiff and

 his implanting physician, without substantial change in their condition.

        82.       At the time the Ethicon Proceed left Defendants’ possession and the time the

 Ethicon Proceed entered the stream of commerce in the State of New Jersey, it was in an

 unreasonably dangerous or defective condition. These defects include, but are not limited to the

 following:

              •   the Ethicon Proceed was not reasonably safe as intended to be used;

              •   the Ethicon Proceed had an inadequate design for the purpose of hernia repair;

              •   the Ethicon Proceed contained unreasonably dangerous design defects, including a

                  large pore ORC layer that is ineffective at preventing adhesion formation to the

                  underlying polypropylene;

              •   the Ethicon Proceed is unreasonably dangerous, due to the degraded state of the

                  polypropylene utilized, which has been exposed to gamma irradiation;

              •   the Ethicon Proceed contained unreasonably dangerous design defects, utilizing

                  multiple layers, which increases and prolongs the inflammatory response;

              •   the Ethicon Proceed was not appropriately or adequately tested before distribution;

                  and



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                •   the Ethicon Proceed had an unreasonably high propensity for adhesion formation,

                    mesh contracture, hernia recurrence, chronic pain, bowel complications, seroma

                    formation, fistula formation, hematoma formation, infection, erosion, and

                    extrusion.

          83.       At the time the Defendants’ initial design, manufacture, marketing, and sale of the

 Ethicon Proceed, a feasible, alternative safer design for the Ethicon Proceed was known and

 available, including, but not limited to, a flat, non-coated, single-layer mesh placed away from the

 bowel.

          84.       At the time subsequent to Defendants’ initial design and manufacture and

 marketing and sale of the Ethicon Proceed, including before Plaintiff’s hernia surgery, Defendants

 had the ability to eliminate the unsafe character of the Ethicon Proceed without impairing its

 usefulness.

          85.       Had the Defendants properly and adequately tested the Ethicon Proceed, they

 would have discovered that the ORC layer was ineffective at preventing adhesion formation to the

 polypropylene; multiple layers increase and prolong the inflammatory response; the mesh

 experiences significant contraction over time; recurrence rates are unacceptably high; the

 polypropylene was too weak; and that these defects result in bowel obstructions, seromas, fistulas,

 infections, erosion, extrusion, a pronounced foreign body response, among other complications.

          86.       The Ethicon Proceed, manufactured, supplied, distributed, marketed, promoted and

 sold by Defendants, were therefore defective in design for formulation in that, when it left

 Defendants, the foreseeable risk of harm form the product exceeded or outweighed the benefit or




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 utility of the consumer would expect, and/or it failed to comply with federal requirements for these

 medical devices.

        87.     As a direct and proximate result of Defendants’ wrongful conduct, including the

 defective and dangerous design and inadequate warnings or the Ethicon Proceed, Plaintiff has

 sustained and will continue to sustain severe and debilitating injuries, economic loss, and other

 damages including, but not limited to, cost of medical care, rehabilitation, lost income, permanent

 instability and loss of balance, immobility, and pain and suffering, for which he is entitled to

 compensatory and equitable damages and declaratory relief in an amount to be proven at trial.

        88.     Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to the New Jersey Products Liability Act, N.J.S.A. 2A:58C-1 et seq.

        89.     Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to Michigan common and statutory law.

   COUNT II: STRICT PRODUCTS LIABILITY – FAILURE TO WARN UNDER NEW
      JERSEY PRODUCT LIABILITY ACT AND MICHIGAN COMMON AND
                           STATUTORY LAW

        90.     Plaintiff incorporates the allegations in all prior paragraphs, and further alleges as

 follows:

        91.     Defendants researched, developed, designed, tested, manufactured, inspected,

 labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce

 the Ethicon Proceed; and directly advertised or marketed the product to the FDA, health care

 professionals, and consumers, including Plaintiff. Therefore, Defendants had a duty to warn of the

 risks associated with the use of the Ethicon Proceed.




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         92.     Defendants distributed and sold the Ethicon Proceed in their original form of

 manufacture, which included the defects described herein.

         93.     The Ethicon Proceed was expected to and did reach Plaintiff and his implanting

 physician, without substantial change or adjustment in its condition as manufactured and sold by

 Defendants.

         94.     Each Ethicon Proceed designed, developed, tested, manufactured, distributed,

 promoted, marketed, and/or sold or otherwise placed into the stream of commerce by Defendants,

 was in a dangerous and defective condition and posed a threat to any user or consumer.

         95.     At all material times, Plaintiff was the person the Defendants should have

 considered to be subject to the harm caused by the defective nature of the Ethicon Proceed.

         96.     The Ethicon Proceed was implanted in Plaintiff and used in a manner for which it

 was intended.

         97.     This use has resulted in severe physical, financial, emotional and other injuries to

 Plaintiff.

         98.     Defendants failed to adequately warn health care professionals and the public,

 including Plaintiff and his implanting physician, of the true risks of the Ethicon Proceed, which

 was ineffective at protecting underlying organs from adhesion formation and would contract

 significantly upon implantation, resulting in significant pain, bowel and other organ complications,

 hernia recurrence, reoperation, infections, fistulas, seromas, hematomas, erosion, extrusion,

 subsequent operations, and more.

         99.     Defendants failed to timely and reasonably warn of material facts regarding the

 safety and efficacy of the Ethicon Proceed. Had they done so, proper warnings would have been



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 heeded and no health care professional, including Plaintiff’s physician, would have used the

 Ethicon Proceed, or no consumer, including Plaintiff, would have purchased and/or consented to

 the use of the Ethicon Proceed.

        100.    Defendants failed to timely and reasonably provide adequate instructions and

 training concerning safe and effective use of the Ethicon Proceed.

        101.    The Ethicon Proceed, which Defendants researched, developed, designed, tested,

 manufactured, inspected, labeled, distributed, marketed, promoted, sold and otherwise released

 into the stream of commerce, was defective due to inadequate post-marketing warnings and/or

 instruction because Defendants knew or should have known that there was reasonable evidence of

 an association between the Ethicon Proceed and dense adhesion formation, mesh contracture, and

 hernia recurrence, causing serious injury and pain. Nonetheless, Defendants failed to provide

 adequate warnings to health care professionals and the consuming public, including Plaintiff, and

 continued to aggressively promote the Ethicon Proceed.

        102.    The Ethicon Proceed, which Defendants researched, developed, designed, tested,

 manufactured, inspected, labeled, distributed, marketed, promoted, sold and otherwise released

 into the stream of commerce, was defective due to inadequate post-marketing warnings and/or

 instruction regarding the increased risk of failure of the Ethicon Proceed resulting in revision

 surgery, although Defendants knew of a safer alternative design including, but not limited to, a

 flat, non-coated, single-layer mesh placed away from the bowel.

        103.    Defendants failed to perform or otherwise facilitate adequate testing; failed to

 reveal and/or concealed testing and research data; and selectively and misleadingly revealed and/or

 analyzed testing and research data.



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         104.     Both Plaintiff and his physician used the Ethicon Proceed for its intended purpose,

 i.e., hernia repair.

         105.     Plaintiff could not have discovered any defect in the Ethicon Proceed through the

 exercise of due care.

         106.     Defendants, as designers, manufacturers, distributors, promoters, marketers and/or

 sellers of medical devices are held to the level of knowledge of experts in their field.

         107.     Neither Plaintiff nor his implanting physician had substantially the same knowledge

 about the Ethicon Proceed as Defendants.

         108.     Defendants reasonably should have known the Ethicon Proceed was unsuited to

 repair a hernia in Plaintiff.

         109.     As a direct and proximate result of Defendants’ failure to adequately communicate

 a warning and/or failure to provide an adequate warning and other wrongful conduct, Plaintiff has

 sustained and will continue to sustain severe physical injuries, severe emotional distress, mental

 anguish, economic losses and other damages, as set forth in this Complaint.

         110.     Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to the New Jersey Products Liability Act, N.J.S.A. 2A:58C-1 et seq.

         111.     Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to Michigan common and statutory law.

 COUNT III: STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT UNDER
   NEW JERSEY PRODUCT LIABILITY ACT AND MICHIGAN COMMON AND
                           STATUTORY LAW

         112.     Plaintiff incorporates the allegations in all prior paragraphs, and further alleges as

 follows:



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        113.    Defendants designed, developed, manufactured, tested, packaged, advertised,

 promoted, marketed, distributed, labeled and/or sold the Ethicon Proceed, in a condition which

 rendered it unreasonably dangerous due to it propensity to result in early failure of the device. The

 Ethicon Proceed was unreasonably dangerous in construction or composition.

        114.    The Ethicon Proceed Defendants manufacture was defective in construction or

 composition in that, when it left the hands of Defendants, it deviated in a material way from their

 manufacturing performance standards and/or it differed from otherwise identical products

 manufactured to the same design formula. Defendants knew or should have known that the Ethicon

 Proceed could fail early in patients, thereby giving rise to pain and suffering, debilitation and the

 need for revision surgery to replace the device with the attendant risk of complications and death

 from such further surgery, Defendants continued to market the Ethicon Proceed as a safe and

 effective absorbable barrier hernia mesh.

        115.    As a direct and proximate result of the use of the subject product as manufactured,

 designed, sold, supplied and introduced into the stream of commerce by Defendants, Plaintiff

 suffered harm, damages and economic loss as previously described and will continue to suffer

 such harm, damages and economic loss in the future.

        116.    Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to the New Jersey Products Liability Act, N.J.S.A. 2A:58C-1 et seq.

        117.    Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to Michigan common and statutory law.




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                        COUNT IV: NEGLIGENCE-
       PURSUANT TO NEW JERSEY PRODUCT LIABILITY ACT, NEW JERSEY
               COMMON LAW, AND MICHIGAN COMMON LAW

        118.    Plaintiff incorporates the allegations in all prior paragraphs, and further alleges as

 follows:

        119.    Although Defendants had a duty to use reasonable care in designing, testing,

 inspecting, manufacturing, packaging, labeling, marketing, distributing, training, and preparing

 written instructions and warnings for the Ethicon Proceed, they failed to do so.

        120.    Defendants knew, or in the exercise of reasonable care should have known, that

 the Ethicon Proceed was defectively and unreasonably designed and/or manufactured, and was

 unreasonably dangerous and likely to injure patients like Plaintiff in whom the Proceed was

 implanted. They also knew or should have known that Plaintiff and his physicians were unaware

 of the dangers and defects inherent in the Ethicon Proceed.

        121.    As a direct and proximate result of Defendants’ negligence in designing, testing,

 inspecting, manufacturing, packaging, labeling, marketing, distributing, training and preparing

 written instructions and warnings for the Ethicon Proceed, Plaintiff suffered injuries and

 damages as summarized in this Complaint.

        122.    Defendants are liable in tort to Plaintiff for their wrongful conduct pursuant to the

 New Jersey Products Liability Act, N.J.S.A. 2A:58C-1 et seq.

        123.    Defendants are similarly liable in tort to Plaintiff for their wrongful conduct,

 including but not limited to negligent marking and negligent misrepresentations, pursuant to New

 Jersey common law.




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        124.    Defendants are liable in tort to Plaintiff for their wrongful conduct, including but

 not limited to their negligent marketing and negligent design of the Proceed product, pursuant to

 any and all applicable Michigan common law.

  COUNT V: BREACH OF IMPLIED WARRANTY UNDER NEW JERSEY PRODUCT
      LIABILITY ACT AND MICHIGAN COMMON AND STATUTORY LAW

        125.    Plaintiff incorporates the allegations in all prior paragraphs, and further alleges as

 follows:

        126.    At the time Defendants designed, manufactured, produced, tested, studied,

 inspected, labeled, marketed, advertised, sold, promoted and distributed the Ethicon Proceed for

 use by Plaintiff, they knew of the intended use of the Proceed, and impliedly warranted their

 product to be of merchantable quality, and safe and fit for its intended use.

        127.    When the Ethicon Proceed was implanted in Plaintiff to treat his hernia, the

 Proceed was being used for the ordinary purposes for which it was intended.

        128.    Plaintiff, individually and/or by and through his physicians, relied upon

 Defendants’ implied warranties of merchantability in consenting to have the Ethicon Proceed

 implanted in him.

        129.    Contrary to such implied warranties, the Ethicon Proceed was not of merchantable

 quality, and was not safe and/or was not fit for its intended use. The Proceed was unreasonably

 dangerous and unfit for the ordinary purposes for which it was used. Defendants failed to warn

 of known or reasonably scientifically knowable defects in the Proceed.

        130.    As a direct and proximate result of the conduct of Defendants, Plaintiff suffered

 the injuries and damages described in this Complaint.

        131.    Defendants are liable in tort to Plaintiff for their wrongful conduct pursuant to the


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 New Jersey Products Liability Act, N.J.S.A. 2A:58C-1 et seq.

        132.    Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to Michigan common and statutory law.

  COUNT VI: BREACH OF EXPRESS WARRANTY UNDER NEW JERSEY PRODUCT
      LIABILITY ACT AND MICHIGAN COMMON AND STATUTORY LAW

        133.    Plaintiff incorporates the allegations in all prior paragraphs, and further alleges as

 follows:

        134.    At all relevant times, Defendant manufactured, distributed, advertised, promoted,

 and sold the Ethicon Proceed.

        135.    At all relevant times, Defendant intended the Ethicon Proceed be used in the

 manner that Plaintiff in fact used it and Defendants expressly warranted in its brochures and

 advertising that each product was safe and fit for use by consumers, that it was of merchantable

 quality, that its side effects were minimal and comparable to other mesh products, and that it was

 adequately tested and fit for its intended use.

        136.    At all relevant times, Defendants were aware that consumers, including Plaintiff,

 would use the Ethicon Proceed. Therefore, Plaintiff was a foreseeable user of Defendants’

 Ethicon Proceed.

        137.    Plaintiff and/or his implanting physician were at all relevant times in privity with

 Defendants.

        138.    Defendants’ Ethicon Proceed was expected to reach and did in fact reach

 consumers, including Plaintiff and his implanting physician, without substantial change in the

 condition in which it was manufactured and sold by Defendants.




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        139.    Defendants breached various express warranties with respect to the Ethicon

 Proceed, including the following particulars:

    •   Defendants represented to Plaintiff and his physicians and healthcare providers through

        their labeling, advertising marketing materials, detail persons, seminar presentations

        publications, notice letters, and regulatory submissions that the Ethicon Proceed was safe

        and fraudulently withheld and concealed information about substantial risks or serious

        injury and/or death associated with using the Ethicon Proceed.

    •   Defendants represented to Plaintiff and his physicians and healthcare providers that their

        Ethicon Proceed was as safe, and/or safer than other alternative procedures and devices

        and fraudulently concealed information, which demonstrated that the Ethicon Proceed

        was not safer than alternatives available on the market; and

    •   Defendants represented to Plaintiff and his physicians and healthcare providers that the

        Ethicon Proceed was more efficacious than other alternatives and fraudulently concealed

        information regarding the true efficacy of the Ethicon Proceed.

        140.    In reliance upon Defendants’ express warranty, Plaintiff was implanted with

 Defendants’ Ethicon Proceed as prescribed and directed, and therefore, in the foreseeable manner

 normally intended, recommended, promoted, and marketed by Defendants.

        141.    At the time of making such express warranties, Defendants knew or should have

 known that the Ethicon Proceed does not conform to these express representations because the

 Ethicon Proceed was not safe and had numerous serious side effects, many of which Defendants

 did not accurately warn about, thus making the Ethicon Proceed unreasonably unsafe for its

 intended purpose.



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        142.    Members of the medical community, including physicians and other healthcare

 professionals, as well as Plaintiff and the public, relied upon the representations and warranties

 of Defendants in connection with the use recommendation, description, and/or dispensing of the

 Ethicon Proceed.

        143.    Defendants breached their express warranties to Plaintiff in that the Ethicon

 Proceed was not of merchantable quality, safe, and fit for its intended purpose, nor was it

 adequately tested.

        144.    As a direct and proximate result of Defendants’ conduct, Plaintiff has sustained

 and will continue to sustain severe physical injuries, severe emotional distress, mental anguish,

 economic losses, and other damages.

        145.    Defendants are liable in tort to Plaintiff for their wrongful conduct pursuant to the

 New Jersey Products Liability Act, N.J.S.A. 2A:58C-1 et seq.

        146.    Defendants are strictly liable in tort to Plaintiff for their wrongful conduct pursuant

 to Michigan common and statutory law.

      COUNT VII: PUNITIVE DAMAGES UNDER NEW JERSEY AND MICHIGAN
    COMMON AND STATUTORY LAW, NEW JERSEY PUNITIVE DAMAGES ACT
   (N.J.S.A. 2A:15-5.9, et seq.) and NEW JERSEY PRODUCT LIABILITY ACT (N.J.S.A.
                                       2A:58C-1, et seq.)

        147.    Plaintiff incorporates the allegations in all prior paragraphs, and further alleges as

 follows:

        148.    Plaintiff is entitled to punitive damages because Defendants’ wrongful acts and/or

 omissions were wanton or in conscious disregard of the rights of others. Defendants misled both

 the medical community and the public at large, including Plaintiff, by making false

 representations about the safety and efficacy of the Ethicon Proceed and by failing to provide


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 adequate instructions and training concerning its use. Defendants downplayed, understated,

 and/or disregarded their knowledge of the serious and permanent side effects and risks associated

 with the use of the Ethicon Proceed, despite available information demonstrating that the Ethicon

 Proceed lacked adequate testing, was ineffective at preventing adhesion formation of

 polypropylene, would significantly contract upon implantation, would fail early, and would

 cause an increased and prolonged inflammatory and foreign body response, high rates of bowel

 complications, seromas, infections, fistulas, pain, and other harm to patients. Such risk and

 adverse effects could easily have been avoided had Defendants not concealed knowledge of the

 serious and permanent side effects and risks associated with the use of the Ethicon Proceed or

 provided proper training and instruction to physicians regarding use of the Ethicon Proceed.

 Defendants’ misrepresentations included knowingly withholding material information from the

 FDA, the medical community and the public, including Plaintiff, concerning the safety of the

 Ethicon Proceed.

        149.    Defendants were or should have been in possession of evidence demonstrating

 that the Ethicon Proceed caused serious side effects. Nevertheless, Defendants continued to

 market the Ethicon Proceed by providing false and misleading information with regard to its

 safety and efficacy.

        150.    Defendants failed to provide warnings that would have dissuaded health care

 professionals from using the Ethicon Proceed, thus preventing health care professionals and

 consumers, including Plaintiff, from weighing the true risks against the benefits of using the

 Ethicon Proceed.




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         151.    Defendants failed to provide adequate training, testing and instructions to

 physicians that could have prevented failure of the Ethicon Proceed causing serious harm and

 suffering to patients, including Plaintiff.

         152.    Defendants are liable in tort to Plaintiff for their wrongful conduct pursuant to the

 New Jersey Products Liability Act, N.J.S.A. 2A:58C-1 et seq. and New Jersey common law.

         153.    Defendants are liable in tort to Plaintiff for their wrongful conduct pursuant to

 Michigan common and statutory law.

         154.    Plaintiff is entitled to punitive damages as a result of Defendants’ reckless conduct

 in wanton disregard of Plaintiff’s safety pursuant to N.J.S.A. 2A:15-5.9, et seq.

         WHEREFORE, Plaintiff demands judgment against Defendants for compensatory

 damages and punitive damages, together with interest, cost of suit and attorney’s fees and such

 other relief as the Court deems proper.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment and an award of damages against Defendants,

 as follows:

                    a)   special damages, to include past and future medical and incidental expenses,
                         according to proof;
                    b)   past and future loss of earnings and/or earning capacity, according to proof;
                    c)   past and future general damages, to include pain and suffering, emotional
                         distress and mental anguish, according to proof;
                    d)   pre-judgment and post-judgment interest;
                    e)   the costs of this action; and
                    f)   treble and/or punitive damages to Plaintiff; and
                    g)   granting any and all such other and further legal and equitable relief as the
                         Court deems necessary, just and proper.




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                                DEMAND FOR TRIAL BY JURY

         Plaintiff hereby demands a trial by jury to the full extent permitted by law.

                   NOTICE OF OTHER ACTIONS PURSUANT TO R. 4:5-1

         I hereby certify that there are related civil proceedings, listed on Exhibit A. I am not

 aware of any other civil proceedings either pending or contemplated with respect to the matter in

 controversy herein, and that there are no other parties who shall be joined in this action at this

 time.

                        CERTIFICATION PURSUANT TO R. 1:38-7(c)

         I hereby certify that confidential personal identifiers have been redacted from documents

 now submitted to the Court and will be redacted from all documents in the future in accordance

 with R. 1:38-8(b).

                               TRIAL COUNSEL DESIGNATION

         Please take notice that pursuant to the provisions of R 4:25-4, Tobias L. Millrood, is hereby

 designated as trial counsel on behalf of Plaintiff.

                                        SANDERS PHILLIPS GROSSMAN, LLC

                                        /s/ Marc D. Grossman
                                        Marc D. Grossman, Esq. # 042551993
                                        100 Garden City Plaza, Suite 500
                                        Garden City, NY 11530
                                        Ph: (516) 741-5600
                                        Fx: (516) 741-0128
                                        mgrossman@thesandersfirm.com




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                                 POGUST BRASLOW & MILLROOD, LLC
                                 NJ Attorney ID: 38721995
                                 tmillrood@pbmattorneys.com
                                 Michael G. Daly, Esquire
                                 NJ Attorney ID: 025812010
                                 mdaly@pbmattorneys.com
                                 Eight Tower Bridge, Suite 940
                                 161 Washington Street
                                 Conshohocken, Pennsylvania 19428
                                 T: 610-941-4204
                                 F: 610-941-4245

 Dated:      November 9, 2018




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                                                         SUMMONS
Attorney(s) Tobias L. Millrood
                                                                                   Superior Court of
Office Address 161 Washington Street, Suite 940
Town, State, Zip Code Conshohocken, PA 19428                                          New Jersey
                                                                                   Bergen            County
Telephone Number 610-941-4204                                                      Civil Law         Division
Attorney(s) for Plaintiff James Piper                                      Docket No:


 James Piper
       Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
Ethicon, Inc.


          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.


                                                                          Clerk of the Superior Court

DATED:          11/9/2018

Name of Defendant to Be Served: Johnson & Johnson
Address of Defendant to Be Served: One Johnson & Johnson Plaza, New Brunswick, New Jersey



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                                                         SUMMONS
Attorney(s) Tobias L. Millrood
                                                                                   Superior Court of
Office Address 161 Washington Street, Suite 940
Town, State, Zip Code Conshohocken, PA 19428                                          New Jersey
                                                                                   Middlesex         County
Telephone Number 610-941-4204                                                      Civil Law         Division
Attorney(s) for Plaintiff James Piper                                      Docket No:


 James Piper
       Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
Ethicon, Inc.


          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.


                                                                          Clerk of the Superior Court

DATED: 11/9/2018
Name of Defendant to Be Served: Ethicon, Inc.
Address of Defendant to Be Served: Route 22 West, Somerville, NJ 08876



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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 Cottle v. Ethicon, Inc., et al, Docket No.: BER-L-7065-17; Bassett v. Ethicon, Inc., et al, Docket

 No.: BER-L-7836-17; Gold v. Ethicon, Inc., et al, Docket No.: BER-L-8037-17; Noakes v.

 Ethicon, Inc., et al, Docket No.: BER-L-8276-17; Fowler v. Ethicon, Inc., et al, Docket No.:

 BER-L-8572-17; Griffin v. Ethicon, Inc., et al, Docket No.: BER-L-8827-17; Linnenbrink v.

 Ethicon, Inc., et al, Docket No.: BER-L-8829-17; Campbell v. Ethicon, Inc., et al, Docket No.:

 BER-L-8998-17; Martin v. Ethicon, Inc., et al, Docket No.: BER-L-9127-17; Ruiz v. Ethicon,

 Inc., et al, Docket No.: BER-L-9130-17; Trebolo, Jr. v. Ethicon, Inc. et al, Docket No.: BER-L-

 9133-17; Gateley v. Ethicon, Inc., et al, Docket No.: BER-L-9151-17; Redding v. Ethicon, Inc.,

 et al, Docket No.: BER-L-184-18; Rice v. Ethicon, Inc., et al, Docket No.: BER-L-197-18; Bean

 v. Ethicon, Inc., et al, Docket No.: BER-L-198-18; Alumbaugh v. Ethicon, Inc., et al, Docket

 No.: BER-L-207-18; Reynolds v. Ethicon, Inc., et al, Docket No.: BER-L-279-18; Smith v.

 Ethicon, Inc., et al, Docket No.: BER-L-652-18; Gaddis v. Ethicon, Inc., et al, Docket No.: BER-

 L-658-18; Clark v. Ethicon, Inc., et al, Docket No.: BER-L-691-18; Fielding v. Ethicon, Inc., et

 al, Docket No.: BER-L-693-18; Hollimon v. Ethicon, Inc., et al, Docket No.: BER-L-694-18;

 Miller v. Ethicon, Inc., et al, Docket No.: BER-L-695-18; Moore v. Ethicon, Inc., et al, Docket

 No.: BER-L-697-18; Rodriguez v. Ethicon, Inc., et al, Docket No.: BER-L-699-18; Sollis v.

 Ethicon, Inc., et al, Docket No.: BER-L-703-18; Adams v. Ethicon, Inc., et al, Docket No.: BER-

 L-728-18; Crossland v. Ethicon, Inc., et al, Docket No.: BER-L-729-18; Denney v. Ethicon, Inc.,

 et al, Docket No.: BER-L-732-18; Westerbeck v. Ethicon, Inc., et al, Docket No.: BER-L-733-

 18; Dollanmeyer v. Ethicon, Inc., et al, Docket No.: BER-L-774-18; Jarrell v. Ethicon, Inc., et al,

 Docket No.: BER-L-775-18; Jennings v. Ethicon, Inc., et al, Docket No.: BER-L-777-18;

 Johnson v. Ethicon, Inc., et al, Docket No.: BER-L-778-18; Kennedy v. Ethicon, Inc., et al,
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 Docket No.: BER-L-779-18; McKinney v. Ethicon, Inc., et al, Docket No.: BER-L-780-18;

 Morgan v. Ethicon, Inc., et al, Docket No.: BER-L-781-18; Robins v. Ethicon, Inc., et al, Docket

 No.: BER-L-809-18; Aaron v. Ethicon, Inc., et al, Docket No.: BER-L-870-18; Diloreto v.

 Ethicon, Inc., et al, Docket No.: BER-L-1018-18; Pikulsky, et al v. Ethicon, Inc., et al, Docket

 No.: BER-L-1052-18; Lang v. Ethicon, Inc., et al, Docket No.: BER-L-1067-18; Gibson v.

 Ethicon, Inc., et al, Docket No.: BER-L-1110-18; Shackelford v. Ethicon, Inc., et al, Docket No.:

 BER-L-1200-18; Schriner v. Ethicon, Inc., et al, Docket No.: BER-L-1222-18; Alexander v.

 Ethicon, Inc., et al, Docket No.: BER-L-1241-18; Usey v. Ethicon, Inc., et al, Docket No.: BER-

 L-1244-18; Hart v. Ethicon, Inc., et al, Docket No.: BER-L-1349-18; Galvez v. Ethicon, Inc., et

 al, Docket No.: BER-L-1393-18; Lindly v. Ethicon, Inc., et al, Docket No.: BER-L-1402-18;

 Senkel v. Ethicon, Inc., et al, Docket No.: BER-L-1433-18; Maestas v. Ethicon, Inc., et al,

 Docket No.: BER-L-1456-18; Szaroleta v. Ethicon, Inc., et al, Docket No.: BER-L-1458-18;

 Krampen-Yerry v. Ethicon, Inc., et al, Docket No.: BER-L-1466-18; Lotridge v. Ethicon, Inc., et

 al, Docket No.: BER-L-1467-18; Dias v. Ethicon, Inc., et al, Docket No.: BER-L-1471-18;

 Alvarado, et al v. Ethicon, Inc., et al, Docket No.: BER-L-1479-18; Mountjoy, et al v. Ethicon,

 Inc., et al, Docket No.: BER-L-1480-18; Fontenot v. Ethicon, Inc., et al, Docket No.: BER-L-

 1513-18; Anawaty v. Ethicon, Inc., et al, Docket No.: BER-L-1516-18; Capshaw v. Ethicon,

 Inc., et al, Docket No.: BER-L-1530-18; Bradford v. Ethicon, Inc., et al, Docket No.: BER-L-

 1806-18; Johnson v. Ethicon, Inc., et al, Docket No.: BER-L-2003-18; Collier v. Ethicon, Inc., et

 al, Docket No.: BER-L-2214-18; Williams v. Ethicon, Inc., et al, Docket No.: BER-L-2337-18;

 Miller v. Ethicon, Inc., et al, Docket No.: BER-L-2345-18; Ward v. Ethicon, Inc., et al, Docket

 No.: BER-L-2353-18; Shepherd v. Ethicon, Inc., et al, Docket No.: BER-L-2354-18; Scobee v.

 Ethicon, Inc., et al, Docket No.: BER-L-2355-18; Wojtusiak, et al v. Ethicon, Inc., et al, Docket
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 No.: BER-L-2456-18; Fontana v. Ethicon, Inc., et al, Docket No.: BER-L-2511-18; Hardy v.

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 BER-L-2513-18; Hodge v. Ethicon, Inc., et al, Docket No.: BER-L-2577-18; Kruggel, et al v.

 Ethicon, Inc., et al, Docket No.: BER-L-2694-18; McCormick v. Ethicon, Inc., et al, Docket No.:

 BER-L-2856-18; Lloyd v. Ethicon, Inc., et al, Docket No.: BER-L-2952-18; and Benton, et al v.

 Ethicon, Inc., et al, Docket No.: BER-L-3317-18.
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                        Civil Case Information Statement
 Case Details: MIDDLESEX | Civil Part Docket# L-007282-18

Case Caption: PIPER JAMES VS ETHICON, INC.                       Case Type: PRODUCT LIABILITY
Case Initiation Date: 11/09/2018                                 Document Type: Complaint with Jury Demand
Attorney Name: MARC DAVID GROSSMAN                               Jury Demand: YES - 12 JURORS
Firm Name: SANDERS PHILLIPS GROSSMAN, LLC                        Hurricane Sandy related? NO
Address: 100 GARDEN CITY PLAZA, STE 500                          Is this a professional malpractice case? NO
GARDEN CITY NY 11530                                             Related cases pending: YES
Phone:                                                           If yes, list docket numbers: See exhibit A
Name of Party: PLAINTIFF : Piper, James                          Do you anticipate adding any parties (arising out of same
Name of Defendant’s Primary Insurance Company                    transaction or occurrence)? NO
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 11/09/2018                                                                                /s/ MARC DAVID GROSSMAN
 Dated                                                                                                        Signed
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